Case 2:04-CV-02653-dkv Document 35 Filed 07/08/05 Page 1 of 3 Page|D 37

FII.ED BY __ _____ D_Q,

lN THE UNITED sTATES DISTRICT COURT -
FOR THE WESTERN DISTRICT oF TENNESSEE 95 JUL ~8 PH h= 03

 

ALOEION DICKERSON, a minor, MD§MLD
By her mother, next friend and guardian, WD OF wl _;J,$EMMS
ROSALIND BRYAN'I',

Plaintiff,

v. Case No. 04-2653-Ma V

GREYHOUND LINES INC.,
Defendant.

AND

GREYHOUND LINES INC.,
Counter-Plaintii`f

V.

ALOEOIN DICKERSON, a minor,

By and through her mother and next friend
ROSAL[ND BRYANT, KIMESHIA DANDR]])GE,
A minor, by and through her mother and

next friend MARY DANDR[DGE, et. al

Defendants

AND

KIMESHIA DANDRIDGE, A minor,
by and through her mother and

next friend MARY DANDRI])GE
Counter Plaintiff

V.

GREYHOUND LINES INC.
Counter Defendant.

 

ORDER GRANTING MOTION TO AMEND SCHEDULING ORDER TO ENLARGE
TII\/IE

 

Th‘s document entered on the docket Sheet 'm cosmpliance
with Hu!e 55 and/ch 79(a) FRCP on " /’O

 

Case 2:04-CV-02653-dkv Document 35 Filed 07/08/05 Page 2 of 3 Page|D 38

Before the Court is the Motion to Amend Scheduling Order to En]arge Time for Discovery, tiled,
June 30, 2005. Based upon the statements of Plaintiffs’ counsel and the entire record herein, this
Honorable Court finds that the scheduling order shall be amended and that a September l, 2005 shall

be the new date to end discoveryl

L.
So ORDERED this g day of 2005.

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QM,L¢, Y;?W$h
DAH U '

UNITED ss ITIC COURT - WESTERN D"RITICT 0 TENNESSEE

   

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 35 in
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Honorable Diane Vescovo
US DISTRICT COURT

